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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    WESTERN DIVISION
 Pierre G. Thorsen,

            Plaintiff,
 v.                                                           Case No. 3:20-cv-50132

 Community Unit School District 300,                          Judge Iain D. Johnston
                                                              Magistrate Judge Margaret J. Schneider
            Defendant.

                                     JOINT STATUS REPORT

           Plaintiff Pierre G. Thorsen (“Thorsen”) and Defendant Community Unit School District

300 (“D300”), hereby submit the following joint status report:

      A.      Defendant, D300, and Plaintiff, Thorsen, submitted Rule 26(1) disclosures on or

              about August 30, 2021.

      B.      Plaintiff submitted his responses to a Request to Admit and Interrogatories on or

              about October 29, 2021.

      C.      Defendant answered Interrogatories and a Notice to Produce on December 16, 2021,

              with many objections which included objections based on State and Federal

              limitations on the disclosure of student record information. Defendant supplemented

              its production on January 29, 2022. Defendant has produced over 600 pages of

              responsive records in addition to the substantive responses to Plaintiffs Interrogatories

              and Requests to Produce.

      D.      On December 17, 2021, Plaintiff initially requested a F.R.C.P. 26 (b )(5) privilege log

              regarding documents withheld for privilege. The District provided Plaintiff with a

              privilege log on January 29, 2022.




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E.    Plaintiff and Defendant have not resolved their differences over the District's

      discovery responses, despite exchanges over the past months. The District continues

      to maintain that it has provided relevant information in its possession proportionate to

      the needs of the case. Plaintiff continues to seek discovery of additional information.

      This court has received briefs on Plaintiffs Motion to Compel.

F.    CUSD 300 took the deposition of Pierre Thorsen on June 7, 2022. Pierre Thorsen

      took the depositions of Mike Williamson, June 8, 2022, Colleen O' Keefe, June 16,

      2022, and Lynn Adler, June 30, 2022. Pierre Thorsen is scheduled to take the

      deposition of Kara McMahon August 10, 2022. CUSD 300 has no other witnesses

      disclosed order F.R.Civ.P.26.

G.    On July 22, 2022, Thorsen served CUSD 300 with Supplemental Rule 26(A)(l)

      Disclosures, giving greater details regarding testimony from Thorsen and four other

      previously disclosed witnesses, as well as four new witnesses. District 300 does not

      consider this testimony or these witnesses relevant to any issues in dispute in this

      Title VII employment discrimination case.

H.    Pierre Thorsen has been attempting to take the deposition of Aliya Chaudhry, with the

      cooperation of her approved counsel. Counsel for Aliya Chaudhry wants only one

      deposition for all three cases and is working on giving out dates in late August and

      September. Counsel for D300 only learned of this in the past week. D300 objects to

      the necessity and relevance of this deposition in this Title VII employment

      discrimination case.

I.    Thorsen expects to complete deposition fact discovery by October 15, 2022. Thorsen

      has not yet seen whether more documents will be produced, as a result of his Motion


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         to Compel, and more discovery is needed. Thorsen has not yet had the opportunity to

         take Aliya Chaudhry's deposition. If necessary Thorsen will bring a Motion to Extend

         the fact discovery deadline.

  J.     D300 objects to any extension of discovery, including for the limited purpose of

         obtaining the deposition of Aliya Chaudhry. Plaintiff had ample opportunity to

         pursue this deposition prior to this time. As a student, Ms. Chaudhry would not

         possess any relevant knowledge of Plaintiff’s employment relationship or knowledge

         of the circumstances under which he resigned his job. Plaintiff has not pursued other

         avenues to address any issues which he believes Ms. Chaudhry’s testimony would

         address, to include proposed stipulations of fact. Continuing discovery at this point

         only serves the purpose of delay; it will not bring greater clarity to the issues in

         dispute in this Title VII employment discrimination matter. All individuals were

         identified to have relevant knowledge of the circumstances under which Plaintiff

         resigned his job and the District’s disciplinary actions have been deposed (or will be

         before the scheduled close of discovery). This case has been pending for over two

         years.   The District is prepared to move forward with a Motion for Summary

         Judgment. D300 requests a status hearing to set a briefing schedule for a Motion for

         Summary Judgment that accounts for resolution of any outstanding discovery issues

         remaining after resolution of Plaintiff’s Motion to Compel.


Dated: August 10, 2022                                Dated: August 10, 2022

PIERRE G. THORSEN                                     COMMUNITY UNIT SCHOOL
                                                      DISTRICT 300
By: /s/Timothy J. Lowery
   Timothy J. Lowery                                  By: /s/ Abigail Rogers
   Hanson Law Group LLP                                   Abigail C. Rogers
                                                          Engler Callaway Baasten & Sraga LLC
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